Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 1 of 18 PageID# 84


                                                                       FILED
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                                                                   MAR 1 2 2019
                              Norfolk Division

                                                              CLERK,U.S. DISTRICT COURT
UNITED STATES OF AMERICA,                                           NORFOLK. VA


V.                                                     Civil No. 2:19crl0


CARLOS GOMEZ-SALINAS,


                  Defendant.




                             OPINION AND ORDER


      This matter is before the Court on a motion filed by Defendant

Carlos Gomez-Salinas (^^Defendant" or '^Gomez-Salinas") to dismiss

the indictment against him.        ECF No. 12.      For the reasons stated

below, Defendant's Motion to Dismiss is DENIED.

                   I. FACTUAL and PROCEDURAL HISTORY


      The underlying facts of this case do not appear to be in

dispute.       Defendant    Gomez-Salinas     is   a   citizen    of    Mexico.

Response, ECF No. 13 at 1.        He first illegally entered the United

States at some point prior to February 12, 2006.           Id.    On February

12, 2006, Defendant was arrested by Charlotte-Mecklenburg police

for resisting a public officer.^        Id. at 1, Ex. 1 (arrest record).

On April 15, 2007, Defendant was again arrested by Charlotte-




^ On August 3, 2007, Defendant was convicted in North Carolina state court and
sentenced to three days in jail for the resisting a public officer charge.    Id.
at 1, Ex. 1.
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 2 of 18 PageID# 85



Mecklenburg police for domestic assault.               Id. at 1, Exs. 1^     2

(police report)

      Following these arrests, on April 26, 2007, Defendant was

served in person with an Immigration and Naturalization Service

("INS") Notice to Appear ("Notice to Appear").           Motion to Dismiss,

ECF No. 12, Ex. B.       The Notice to Appear advises Defendant that

removal proceedings under         section 240 of       the   Immigration and

Nationality Act were initiated against him, that he is ordered to

appear at a hearing before an immigration judge, and stated that

the date and time of the hearing would be set later.              Id.

      On July 31, 2007, attorney Jeannette Freeman filed a Notice

of Appearance in Defendant's Removal Proceeding, with such Notice

providing the Defendant's address in Marietta, Georgia. Response,

Ex. 3.    On that same date, the immigration court served a Notice

of Hearing in Removal Proceeding, indicating the time, date, and

place of the hearing, on the Defendant at the same Marietta address

provided by his attorney.        Id., Ex. 4.     The hearing was scheduled

for August 28, 2007.      Id.    On August 28, 2007, a second Notice of

Hearing   in Removal Proceedings         was personally served on the

Defendant indicating a          new   date for   the    removal   hearing   on

September 27, 2007.        Id., Ex. 5.       On September 24, 2007, the

immigration court served a third Notice of Hearing on Defendant's


2 On July 16, 2008, Defendant was convicted of Felonious Restraint with regard
to the domestic assault incident and was sentenced to 13 months in prison.
Id. at 1, Ex. 1.
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 3 of 18 PageID# 86



counsel rescheduling the hearing for October 23, 2007.                Id., Ex.

6.


        Thereafter, the removal hearing was again rescheduled for

September     2,   2008.    Id., Ex.   10.3     Counsel sent a letter to

Defendant dated July 21, 2008, which informed the Defendant of the

time and place of his upcoming September 2 hearing with the

immigration court.         Id., Ex. 11.   On August 5, 2008, Defendant's

attorney in the removal proceedings filed a motion to withdraw

representation.      Id., Ex. 10.      The attorney cited a breakdown of

commiinications with Defendant.        Id.    The record does not indicate

that the motion to withdraw was ever granted.

        On August 27, 2008, the immigration court issued a fourth

Notice of Hearing setting the hearing for November 18, 2008 at

8:30 a.m. at 180 Spring Street, Southwest, Suite 241, Atlanta,

Georgia 30303.      Id., Ex. 12.   This Notice of Hearing was served on

Defendant's counsel.




3 The removal hearing appears to have been continued from October 23, 2007 to
September 2, 2008 due to Defendant's ongoing state criminal proceedings. On
September 27, 2007, another one of Defendant's immigration attorneys. Chandler
Sharma, filed a motion to continue Defendant's removal hearing due to a
scheduled criminal hearing in North Carolina state court.        id., Ex. 7.
Subsequently, on April 20, 2008, Defendant was    arrested on a separate charge
for driving while intoxicated. Id., Ex. 8.        An officer reported that the
Defendant recklessly drove through an apartment   complex parking lot and struck
two vehicles. Id. Defendant was also arrested     by immigration officers on the
basis that he was present in the United States    illegally, and served with an
INS Notice of Rights and Request for Disposition.     Id., Ex. 9.   Defendant
requested a hearing before the immigration court, and he signed and dated the
form.   Id.
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 4 of 18 PageID# 87




       On November 18, 2008, the hearing was held.               Id., Ex. 13.

Defendant was not present. Id. Immigration Judge Wayne K. Houser,

Jr. ordered       that the Defendant be removed           to Mexico ("Removal

Order"), noting in the Removal Order that "[a]t a prior hearing

the respondent admitted the factual allegations in the Notice to

Appear and conceded removability."            Id.    On December 11, 2008, the

Defendant      was removed      at the   Hidalgo Point of Entry and          an

Immigration Agent witnessed his departure from the United States

into Mexico.      Id., Ex. 14.

       Thereafter, the Defendant illegally re-entered the United

States.     Id., Ex. 15.        Pursuant to a Decision to Reinstate the

November 2008 Removal Order, the Defendant was removed for a second

time to Mexico from the United States on May 10, 2012.              id., Exs.

15, 16.        Subsequent to his second removal to Mexico, Defendant

again illegally re-entered the United States.                 On December 24,

2018, the Defendant was arrested in Chesapeake, Virginia, and

charged with public intoxication in violation of Va. Code § 18.2-

157.     I^, Ex. 17.

       On January 10, 2019, Defendant was indicted for the instant

offense: Reentry of a Previously Deported Alien, in violation of

8 U.S.C. § 1326(a).        ECF No. 1.        On January 29, 2019, Defendant

filed the instant motion to dismiss.            ECF No. 12.    In the motion.

Defendant argues that because the April 2007 INS Notice to Appear

failed    to    include   the   date   and    time   of   Defendant's   removal
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 5 of 18 PageID# 88



proceeding, the immigration court lacked jurisdiction to order

Defendant's removal.        Defendant contends that the November 2008

Removal   Order is      invalid,   and   the   current indictment must    be

dismissed because Defendant has not re-entered the United States

subsequent to the entry of a valid order removing Defendant from

the   country.     On    February 12,     2019,   the   Government filed a

response.    ECF No. 13.      Defendant has not filed a reply and the

deadline to do so has passed; the motion is ripe for decision.

The Court has reviewed the parties' submissions and concludes that

a hearing is not necessary.        Local Criminal Rule 47(J).

                              II. DISCUSSION


                           A. a U.S.C. § 1326(d)


      Defendant seeks a collateral judicial review of his November

2008 Removal Order, arguing that the order was ultra vires because

the immigration court lacked jurisdiction as the April 2007 Notice

to Appear did not include a date and time for the hearing.               An

alien charged with illegal re-entry may, in a criminal proceeding

under § 1326, wage such a collateral attack that challenges the

validity of      the underlying removal order only if the alien

demonstrates:


      (1) the alien exhausted any administrative remedies that
      may have been available to seek relief against the order;
      (2) the deportation proceedings at which the order was
      issued improperly deprived the alien of the opportunity
      for judicial review; and
      (3) the entry of the order was fundamentally unfair.
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 6 of 18 PageID# 89



8 U.S.C. § 1326(d).        Because section 1326(d) is conjunctive, a

defendant must satisfy all three provisions before he may wage a

collateral attack on the prior removal order.               United States v. El

Shami, 434 F.3d 659, 663 (4th Cir. 2005).

      Here,   Defendant    has   failed     to    satisfy   any    of   the   three

provisions.       First,      Defendant     has    failed     to    exhaust        the

administrative remedies available to seek relief from his removal

order.     An   alien   may    appeal   a   removal     order      issued     by   an

immigration judge to the Board of Immigration Appeals ("BIA").                      8

C.F.R. § 1003.1.     Where an alien, like the Defendant in this case,

fails to appeal to the BIA, he fails to meet the exhaustion

requirement of § 1326(d).        See, e.g.. United States v. Mejia, 671

F. App'x 161, 161 (4th Cir. 2016) (''Accordingly, we conclude that

Ramirez, who did not appeal the removal order to the Board of

Immigration Appeals, failed to exhaust available administrative

remedies to challenge his removal order and is thus barred from

collaterally attacking the order under 8 U.S.C. § 1326(d).").

      Second, a defendant must demonstrate that the underlying

removal proceedings deprived him of the opportunity for meaningful

judicial review. For instance, the opportunity for judicial review

is denied where the entirety of the removal proceedings occurred

while a defendant was in abstentia, without the "means of obtaining

legal counsel, of discovering the remedies available to him, or of

filing an appeal or petition for habeas corpus in the twenty-five
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 7 of 18 PageID# 90




days that passed between the issuance of the order of deportation

and Defendant's removal[.]"           United States v. M\moz-Giron, 943 F.

Supp.   2d    613,   621-22   (E.D.    Va.    2013).      Here,   Defendant   was

represented by counsel in the removal proceedings; he also does

not claim that he could not have known of avenues for judicial

review such as 8 U.S.C. § 1252(a)(2)(D), which permits judicial

review of final orders of removal on limited grounds by the various

Circuit Courts of Appeals.

      Courts have excused defendants from demonstrating either of

these   two    requirements—the       failure    to    exhaust    administrative

remedies or to seek judicial review—and permitted a collateral

attack, ''where that failure is itself the product of a procedural

flaw in the immigration proceeding."               United States v. Moreno-

Tapia, 848 F.3d 162, 169 (4th Cir. 2017).              For instance, the Fourth

Circuit affirmed the excusal of a defendant's failure to exhaust


administrative       remedies   or     seek     judicial    review    where   the

defendant signed a waiver of these rights written in English but

he "did not read or understand English to an extent sufficient to

enable him to comprehend the [forms], or to make a knowing and

informed decision on the basis of forms that he could not read."


United States v. Lopez-Collazo, 824 F.3d 453, 459 (4th Cir. 2016)

(quotations omitted).         Here, the Defendant did not unknowingly

sign a waiver of his rights to appeal to the BIA or an appellate

court; he simply failed to make such an appeal.                   Defendant also
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 8 of 18 PageID# 91



does not argue that he lacked necessary language skills or failed

to comprehend his rights.

      Nor is this a case where the defendant received a Notice to


Appear without a date and time for the hearing, and the defendant

never received any further correspondence regarding the hearing.

For   example,   in   El   Shami,   the   Fourth   Circuit   reasoned   that

defendant could not be expected to meet the exhaustion and judicial

review requirements because, without further notifications, that

defendant could not have been informed of his rights to appeal to

the BIA or judiciary.      434 F.3d at 664.   Here, although the initial

Notice to Appear did not contain the date and time for the hearing.

Defendant does not argue that he did not have actual notice of the

hearing.    As the hearing was rescheduled. Defendant received four

additional notices with the date and time of the hearing.               Such

amended notices are expressly permitted by statute.             8 U.S.C. §

1229(a)(2)(A) (''[I]n the case of any change or postponement in the

time and place of such proceedings, subject to subparagraph (B) a

written notice shall be given in person to the alien (or, if

personal service is not practicable, through service by mail to

the alien or to the alien's counsel of record, if any)[.]")•

Nothing indicates that these siibsequent notices with the date and

time were defective.        Most importantly, the final notification

indicating that the hearing was on November 18, 2008 was sent to

Defendant's attorney in the underlying removal proceeding.              Such
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 9 of 18 PageID# 92




notice delivered only to the attorney is permitted by statute and

regulation.     See id. ("a written notice shall be given in person

to the alien . . . or to the alien's counsel of record") {emphasis

added); see also 8 C.F.R. §§ 292.5, 1292.5 (''Whenever a person is

required by any of the provisions of this chapter to give or be

given notice . . . such notice . . . shall be given by or to,

served by or upon, made by, or requested of                 the attorney or

representative      of     record,     or    the     person     himself     if

unrepresented.") (emphasis added).

      Third, Defendant cannot demonstrate that the entry of the

deportation order        was fundamentally unfair.          "To demonstrate

fundamental unfairness, a defendant must show that (1) his due

process    rights   were    violated    by   defects   in     his   underlying

deportation proceeding, and (2) he suffered prejudice as a result

of   the defects."        El Shami, 434 F.3d at 664-65 (quotations

omitted).    Unlike in El Shami, the Defendant here received written

notice of his deportation hearing. Therefore, he was not deprived

of the fundamental right to due process, which "requires an alien

who faces [removal] be provided (1) notice of the charges against

him, (2) a hearing before an executive or administrative tribunal,

and (3) a fair opportunity to be heard."           United States v. Torres,

383 F.3d 92 (3rd Cir. 2004).         Here, Defendant knew of the charges

against him, was afforded a hearing, and an opportunity to be heard
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 10 of 18 PageID# 93




 at that hearing, because through counsel, he received adequate

 notice of the date and time of the hearing.

       Further, Defendant cannot demonstrate that the deficiencies

 in the deportation proceedings caused him actual prejudice.            That

 is, he cannot demonstrate that "but for the errors complained of,

 there was a reasonable probability that he would not have been

 deported."    El Shami, 434 F.3d at 665.      In this instance, there is

 no dispute that the Defendant was removable.          The Removal Order,

 in fact, notes that "[a]t a prior hearing the respondent admitted

 the factual allegations in the Notice to Appear and conceded

 removability."     Response, ECF No. 13, Ex. 13.       Defendant has not

 shown any reason the immigration judge would not have ordered him

 removed.


       Finally, Defendant appears to argue that he may wage a

 collateral attack on the Removal Order because a review must "be

 made available in any subsequent proceeding in which the result of

 the deportation proceeding is used to establish an element of a

 criminal offense."     United States v. Mendoza-Lopez, 481 U.S. 828,

 839 (1987).     Not SO.     The Supreme Court in Mendoza-Lopez only

 recognized a limited due process right by an alien charged with

 illegal re-entry in violation of 8 U.S.C. § 1326 to meaningful

 judicial review of the underlying removal proceeding "where the

defects in an administrative proceeding foreclose judicial review

of that proceeding."       481 U.S. at 838-839      Depriving an alien of

                                     10
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 11 of 18 PageID# 94




 the right to have the disposition in a deportation hearing reviewed

 in a judicial forum requires, at a minimum, that review be made

 available in any subsequent proceeding in which the result of the

 deportation   proceeding    is   used    to   establish   an    element    of   a

 criminal offense.") (emphasis added).           Thus, in 1996 when Congress

 amended the illegal reentry statute, the limited right recognized

 by Mendoza-Lopez was codified in 8 U.S.C. § 1326(d)(2).                   United

 States V. Cisneros-Garcia, 159 F. App'x 464, 467 (4th Cir. 2005)

 ("Congress codified the protections mandated by Mendoza-Lopez in

 8 U.S.C. § 1326(d)."); accord United States v. Sanchez-Peralta,

 No. 97 CR. 536, 1998 WL 63405, at *2 (S.D.N.Y. Feb. 13, 1998)

 ("Section   1326(d)   appears,    at    least    in   part,    to   codify   the

 constitutional standards governing collateral attacks established

 in United States v. Mendoza-Lopez[.]").               As already discussed

 above. Defendant has failed to demonstrate that he was deprived of

 the right to judicial review in the removal hearing.

      Because Defendant has failed to satisfy any of the provisions

 of 8 U.S.C. § 1326(d), the Court finds that he may not collaterally

 attack the validity of the November 2008 Removal Order.

                            B. Notice to Appear

      In any event. Defendant's argument, that the Removal Order

 was ultra vires as the immigration judge did not have jurisdiction

 because the Notice to Appear did not include a date or time for

 the hearing, fails on the merits.

                                     11
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 12 of 18 PageID# 95




       The statute governing removal proceedings is silent as to the

 jurisdiction of the immigration court.         See generally 8 U.S.C. §

 1229.     However, regulation provides that        [j]urisdiction vests,

 and proceedings before an Immigration Judge            commence,    when a

 charging document is filed with the Immigration Court."            8 C.F.R.

 § 1003.14(a). A charging document is "the written instrument which

 initiates a proceeding before an Immigration Judge" including a

 Notice to Appear.     8 C.F.R. § 1003.13.      Both the statute and the

 regulation list requirements for the contents of a Notice to

 Appear.    The regulation requires a Notice to Appear to include

 specified information, such as "[t]he nature of the proceedings,"

"[t]he acts or conduct alleged to be in violation of law," and

"[n]otice that the alien may be represented, at no cost to the

 government, by counsel or other representative."              8 C.F.R. §

 1003.15(b).    The regulation does not mandate that the time and

 date of proceedings appear in the initial notice; the time and

 date only need to be included "where practicable."             8 C.F.R. §

 1003.18(b).    If "that information is not contained in the Notice

 to Appear," the regulation permits "scheduling the initial removal

 hearing and providing notice to the government and the alien of

 the time, place, and date of hearing" subsequently.              Id.    The

statute contains largely the same requirements as the regulation,

except it demands inclusion of "[t]he time and place at which the

proceedings will be held."       8 U.S.C. § 1229(a)(1)(G)(i).

                                     12
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 13 of 18 PageID# 96



       Defendant relies on the Supreme Court's recent decision in

 Pereira v. Sessions, 138 S. Ct. 2105 (2018). In Pereira, the alien

 was   served     with    a    Notice    to    Appear     containing    all    of   the

 information required by § 1229(a)(1), except the date and time of

 the   removal    hearing.         138   S.    Ct.   at   2112;   see   8    U.S.C.    §

 1229(a)(1)(A)-(F).             The   alien    in    Pereira   never    received       a

 supplemental notice supplying the missing information.                       Id.   The

 question in Pereira was whether the incomplete notice, without

 more, constituted a "Notice to Appear" under 8 U.S.C. § 1229(a)(1)

 for    purposes         of     triggering       the      "stop-time        rule"     in

 § 1229b(d)(1)(A)             The Supreme Court held that without providing

 the date and time of the hearing, the stop-time rule is not

 triggered.      Id. at 2115-16.

       A handful of district courts have relied on Pereira to find

 that a Notice to Appear without the date and time of the hearing

 deprives the immigration court of jurisdiction, and renders the

 removal order defective.             See, e.g.. United States v. Virgen-

 Ponce, 320 F. Supp. 3d 1164 (E.D. Wash. 2018); United States v.

 Vargas-Osorio, 2018 WL 6201957 (W.D. Tex. Nov. 28, 2018); United

 States V. Erazo-Diaz, 2018 WL 6322168 (D. Ariz. Dec. 4, 2018),

 United States v. Pedroza-Rocha, 2018 WL 6629649 (W.D. Tex. Sept.


* Section 1229b gives the Attorney General the power to cancel the removal of
 aliens if certain provisions like continuous residency or continuous physical
 presence in the United States requirements are met; the stop-time rule states
 that the continuous residency and continuous physical presence period ends when
a Notice to Appear under section 1229(a) issues.

                                          13
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 14 of 18 PageID# 97



 21, 2018).        However, far more district courts, including this

 Court, have held that Pereira addressed a narrow question, and its

 holding should not be extended beyond the stop-time rule provision

 to find that immigration courts lack jurisdiction where the Notice

 to Appear did not include the date and time.                See, e.g.. United

 States V. Romero-Caceres, No. l:18-CR-354, 2018 WL 6059381, at *8

 (E.D. Va. Nov. 19, 2018); see also Response at n.l2 (collecting

 cases).5

        Critically, all Courts of Appeals that have addressed the

 issue, including the Fourth Circuit,® have unanimously found that

 Pereira does not dictate that a removal order is ultra vires where

 the order is based on an initial Notice to Appear without the date

 and time.     See, e.g., Leonard v. Whitaker, 746 F. App'x 269, 269

 (4th Cir. 2018) ("[Petitioner] also contends that the agency did

 not have jurisdiction over his removal proceedings.                 We conclude

 that   the   narrow    holding    of   Pereira    does   not   apply in     this

 situation.") (per curiam); Karingithi v. Whitaker, 913 F.3d 1158,

 1159-60 (9th Cir. 2019) ("Pereira was not in any way concerned

 with the Immigration Court's jurisdiction")."^            These courts reason


 ^ Another comprehensive survey also foiind far more district court cases rejecting
 than supporting the extension of Pereira to an immigration court's jurisdiction.
 United States v. Lozano, No. 4:18-CR-522, 2019 WL 224178, at *10 (S.D. Tex.
 Jan. 15, 2019).

 ® The Court notes that the Fourth Circuit has only addressed the issue in
 unpublished per curiam opinions, which are not binding precedent.

   Notably, the Ninth Circuit's recent ruling abrogates two cases cited by
Defendant: Virgen-Ponce and Erazo-Diaz.

                                        14
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 15 of 18 PageID# 98



 that although the statute requires a Notice to Appear to include

 the date and time, it is silent on when jurisdiction vests in the

 immigration court as noted above.           Therefore, failure to comply

 with the requirements of the statute does not affect jurisdiction.

 (In contrast, the stop-time rule in Pereira is statutory.                 Thus,

 failure to comply with the statutory requirements for a Notice to

 Appear means the stop-time rule is not triggered).                    Only the

 regulation provides that jurisdiction vests when a Notice to Appear

 is issued, but the regulation does not require the initial Notice

 to Appear include the date and time.         Karingithi, 913 F.3d at 1160

 ("The flaw in this logic is that the regulations, not § 1229(a),

 define when jurisdiction vests.           Section 1229 says nothing about

 the Immigration Court's jurisdiction.              And for their part, the

 regulations    make   no reference   to §        1229(a)'s definition of     a

 ^notice to appear.'"); United States v. Perez-Arellano, No. 18-

 4301, 2018 WL 6617703, at *3 (4th Cir. Dec. 17, 2018) ("Pereira

 did not address the question of an immigration judge's jurisdiction

 to rule on an alien's removability, and it certainly does not

 plainly    undermine     the   jurisdiction        of   the    2004    removal

 proceeding.")     (per   curiam).          The    regulation    permits    the

 immigration court to provide the date and time later during removal

 proceedings.    Thus, jurisdiction vests in the immigration court

 once a subsequent notice with the date and time is sent.               Molina-

 Guillen v. U.S. Attorney Gen., No. 18-10914, 2019 WL 669715, at *4

                                      15
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 16 of 18 PageID# 99



 (11th Cir. Feb. 19, 2019) («[T]he March 2006 Notice of Hearing,

 which contained the date and time of the removal hearing, was

 served on Molina-Guillen at her then-current address in Tifton,

 Georgia . . . Together, the December 2005 Notice to Appear and the

 March 2006 Notice of Hearing fulfilled the notice requirements in

 § 1229(a)(1).     Thus, the IJ was authorized to enter the removal

 order in Molina-Guillen's absence when she failed to appear at the

 hearing[.]"); Hernandez-Perez v. Whitaker, 911 F.3d 305, 315 (6th

 Cir.   2018) ("[J]urisdiction vests with the            immigration court

 where, as here, the mandatory information about the time of the

 hearing . . . is provided in a Notice of Hearing issued after the

 [Notice to Appear].")•

        The BIA has recently issued an opinion also rejecting the

 extension of Pereira.     In Matter of Beirmudez-Cota, the Board found

 that a Notice to Appear ''that does not specify the time and place

 of an alien's initial removal hearing vests an Immigration Judge

 with jurisdiction over the removal proceedings and meets the

 requirements of [8 U.S.C. § 1229(a)], so long as a notice of

 hearing specifying this information is later sent to the alien."

 27 I. & N. Dec. 441, 447 (B.I.A. 2018).8            And both the BIA and




® Courts have not agreed on the appropriate amount of deference to give the
BIA's opinion. Courts "generally give Chevron deference to the BIA's statutory
interpretations, recognizing that Congress conferred on the BIA decisionmaking
power to decide such questions of law." Martinez v. Holder, 740 F.3d 902, 909
(4th Cir. 2014), as amended (Jan. 27, 2014); see, e.g., Romero-Caceres, 2018 WL
6059381, at *8 ("Notably, the BIA's decision in Bermudez-Cota is entitled to
Chevron deference.").   The Sixth Circuit applied a lower deference standard.

                                      16
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 17 of 18 PageID# 100



 courts have noted that, in Pereira, the Supreme Court "did not

 purport to invalidate the alien's underlying removal proceedings

 or suggest that proceedings should be terminated," although the

 Supreme Court could have, which further suggests that failure to

 comply     with   §   1229(a)'s   date     and   time    requirement       is   non-

 jurisdictional.         Hernandez-Perez,         911    F.3d    at   314     (citing

 Bermudez-Cota, 27 I. & N. Dec. at 443 ("Had the Court intended to

 issue a holding as expansive as the one advanced . . . presumably

 it would not have specifically referred to the question before it

 as being 'narrow.'")).

       In this case, the April 2007 Notice to Appear did not include

 the date and time of the hearing.           However, the Defendant and his

 counsel in the removal proceedings were sent a subsequent notice

 on July 31, 2007, which indicated the hearing would take place on

 August 28, 2007 at 8:30 a.m.         See Response, Ex. 4.            Jurisdiction

 vested in the immigration court at that point.                   Molina-Guillen,

 2019 WL 669715, at *4; Hernandez-Perez, 911 F.3d at 315.                   Although

 the hearing was subsequently rescheduled, that does not divest the

 immigration court of jurisdiction, especially as the subsequent

 notices were not defective in any way and complied with the

 relevant    statute    and   regulation     (including         the   final   notice


 See, e.g., Hernandez-Perez, 911 F.3d at 312 (applying Auer deference). In light
 of the clear consensus among Courts of Appeals including the Fourth Circuit
 rejecting Defendant's argument on the face of the statute and regulation, it is
 not necessary to address the issue of deference.


                                       17
Case 2:19-cr-00010-MSD-RJK Document 14 Filed 03/12/19 Page 18 of 18 PageID# 101



 indicating that Defendant's hearing was on November 18, 2008).

 Supra at 8-9.^

       Because 1) the relevant statute is silent on when jurisdiction

 vests in an immigration court, 2) Defendant received notice of the

 date and time of the hearing in accordance               with the relevant

 regulation, which does address when jurisdiction vests, and 3) the

 Supreme Court's holding in Pereira does not apply, the Court finds

 that the April 2007 Removal Order was not ultra vires as the

 immigration court had jurisdiction.

                               III. CONCLUSION


       Because, as discussed above. Defendant may not collaterally

 attack the removal proceedings, and because his argument fails on

 the merits. Defendant's Motion to Dismiss the Indictment is DENIED.

 ECF No. 12.     The Clerk is REQUESTED to send a copy of this Opinion

 and Order to all counsel of record.


       IT IS SO ORDERED


                                                      /s/
                                                  Mark S. Davis
                                     CHIEF UNITED STATES DISTRICT JUDGE
 Norfolk, Virginia
 March Ol , 2019

 5 Because it is not necessary to do so, the Court does not further discuss the
 possibility that the removal order is not defective even if no subsequent notice
 providing the date and time is provided. United States v. Rivera Lopez, No.
 1:18-CR-00381, 2018 WL 6834363, at *6 (E.D. Va. Dec. 28, 2018) (finding that
 although the regulations provide that jurisdiction vests when a charging
 document is filed with the Immigration Court, the term "jurisdiction" does not
 refer to subject matter jurisdiction and the immigration court's power to hear
 a case, which can never be forfeited or waived, but rather a mandatory component
 of the adjudicative process that may nonetheless be forfeited or waived; as
 such, failure to comply with the regulation does not render a removal order
 ultra vires).

                                       18
